    Case: 1:17-md-02804-DAP Doc #: 2653-1 Filed: 09/25/19 1 of 9. PageID #: 416332




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


    IN RE: NATIONAL PRESCRIPTION
    OPIATE LITIGATION
                                                     MDL No. 2804
    THIS DOCUMENT RELATES TO:
                                                     Case No. 1:17-md-2804
     The County of Summit, Ohio, et al. v. Purdue
                Pharma L.P., et al.,
                                                     Judge Dan Aaron Polster
               Case No. 18-op-45090

       The County of Cuyahoga, Ohio, et al. v.
            Purdue Pharma L.P., et al.,
              Case No. 17-op-45004


                           MEMORANDUM IN SUPPORT OF
                     CARDINAL HEALTH INC.’S MOTIONS IN LIMINE

         Cardinal Health submits three motions in limine.

         1.      14,000 Orders Not Shipped. Plaintiffs’ only evidence that Cardinal Health

violated its CSA duties between 2012 and 2015 is that the company did not report to DEA

approximately 14,000 suspicious orders, only four of which came from Cuyahoga or Summit

pharmacies. It is undisputed that Cardinal Health did not ship a single one of the 14,000 orders.

For that reason, the 14,000 unreported orders did not cause, and could not have caused, Plaintiffs

(or anyone) any injury and should be excluded as irrelevant.

         In 2018, while collecting documents for production to the Multistate AG group, lawyers

for Cardinal Health discovered that approximately 14,000 suspicious orders had not been

reported to DEA during the period 2012 to 2015—a period during which Cardinal Health was

reporting tens of thousands of orders a year. Cardinal Health promptly advised the DEA.1 DEA


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      See CAH_MDL2804_02101802 (attached as Ex. 1).
Case: 1:17-md-02804-DAP Doc #: 2653-1 Filed: 09/25/19 2 of 9. PageID #: 416333




has never directed the company to submit the reports after-the-fact or to fault CAH formally or

informally for the unreported orders, given that the orders were not shipped.

       Further inquiry by Cardinal Health determined three things: (1) the company did not ship

any of the orders; (2) the non-reporting was the result of an IT error (i.e., a programming

mistake), not any individual’s decision; and (3) the vast majority of the 14,000 orders were not

“suspicious” according to conventional company thresholds, but only pursuant to an added layer

of scrutiny adopted by the company. As is conventional, Cardinal Health reported orders that

exceeded “base-code” thresholds, which are thresholds set for each class of drug (e.g.,

oxycodone as distinguished from hydrocodone as distinguished from codeine). But the company

also employed “sub-base codes”, which were limits established for particular dosages of a drug

(e.g., 30 mg oxycodone v. 15 mg oxycodone). The vast majority of the 14,000 orders did not

exceed base-code thresholds, only sub-base codes.

       The Court should exclude evidence regarding the 14,000 unreported orders for two

reasons. First, because the orders did not ship, the evidence is not relevant. Plaintiffs’ theory of

liability against Distributors is that they failed to develop and maintain adequate suspicious-order

monitoring systems, such that Distributors either failed to flag suspicious orders or, if they

flagged them, still shipped the orders to pharmacies in Cuyahoga and Summit, where the

allegedly excessive number of pills led to diversion and injury to Plaintiffs. But neither Plaintiffs

nor anyone else can have suffered any injury from pharmacy orders that were never filled—i.e.,

pills that were never distributed and, therefore, never dispensed or diverted. “No harm, no foul”

is common sense. It is also the testimony of Plaintiffs’ regulatory expert. See Rafalski Dep.

370:12-24 (not shipping an order “would obviously keep it from being distributed and it would

not lead to diversion”) (attached as Ex. 2); id. 371:14-17 (“just the mere fact of stopping a




                                                  2
Case: 1:17-md-02804-DAP Doc #: 2653-1 Filed: 09/25/19 3 of 9. PageID #: 416334




shipment when you’ve identified it as a potential suspicious order would prevent diversion”); id.

371:18-23 (“not reporting the suspicious order to DEA is not what causes diversion”).

       Second, Cardinal Health promptly advised DEA of the unreported orders when it

discovered them. More than a year has passed, and the agency has never directed the company

to submit the orders. For what purpose, then, would Plaintiffs be introducing evidence of the

unreported orders? It could only be for the purpose of arguing that Cardinal Health was obligated

to report the orders and, by failing to do so, misled DEA and, in turn, prevented DEA from

investigating those orders. But, in making that argument, the Counties would be stepping into

DEA’s shoes and policing the CSA regulations—and doing so when the agency has exercised its

discretion not to take enforcement action. This would trespass the boundary of conflict

preemption demarcated in Buckman Co. v. Plaintiffs’ Legal Committee, 531 U.S. 341 (2001).

The considerations that were important for the Supreme Court in holding that state-law fraud-on-

the-FDA claims were preempted under the Food, Drug and Cosmetic Act also hold true for state-

law fraud-on-the-DEA claims under the regulatory scheme created by the Controlled Substances

Act and enforced by DEA as for the regulatory scheme:

      That the “conflict stems from the fact that the federal statutory scheme amply empowers
       the FDA to punish and deter fraud against the Administration, and that this authority is
       used by the Administration to achieve a somewhat delicate balance of statutory
       objectives”;

      That “[a]ccompanying these disclosure requirements are various provisions aimed at
       detecting, deterring, and punishing false statements made during this and related approval
       processes”;

      That the agency “has at its disposal a variety of enforcement options that allow it to make
       a measured response to suspected fraud upon the Administration”;

      That “[t]his flexibility is a critical component of the statutory and regulatory framework
       under which the FDA pursues difficult (and often competing) objectives”; and, thus,




                                                3
    Case: 1:17-md-02804-DAP Doc #: 2653-1 Filed: 09/25/19 4 of 9. PageID #: 416335




         State-law claims “would exert an extraneous pull on the scheme established by Congress,
          and it is therefore preempted by that scheme.”2

Admission of the 14,000 unreported orders would exert just this kind of “extraneous pull” here.

          2.     “Interesting Gossip” Email. The Court should exclude evidence or argument

regarding a McKesson document (MCKMDL0054341) (attached as Ex. 3) pursuant to Federal

Rules of Evidence 402 and 403. The document is an email, written by a McKesson employee in

2013. It reports a dinner conversation at which a Cardinal employee supposedly said that

“Cardinal is not reporting suspicious orders to DEA.” The author characterizes the information

as “[i]nteresting gossip.” He has since testified under oath that he was mistaken.3 And the

“gossip” in the email is false: Cardinal Health reported thousands of suspicious orders in the

quarter in which the conversation took place, and even more in the subsequent quarter and for

the year 2013.4 Plaintiffs’ own expert witnesses point to 2013 as the year when Cardinal began

reporting suspicious orders to DEA.5

          Gossip is not relevant evidence, and certainly not gossip that is demonstrably inaccurate.

Even if the email were somehow relevant, the probative value would be outweighed by the

prejudice of injecting into the trial a falsehood that would require rebuttal and waste time at a

trial in which Cardinal Health has only 12.5 hours to defend itself.

          3.     Misleading Data Comparisons. The Court should prohibit Plaintiffs from

offering opinion testimony by their expert, Dr. Craig McCann, based upon data produced by


2
      531 U.S. at 348–49, 353.
3
      Deposition of De Gutierrez-Mahoney, 425:12-426:8 (attached as Ex. 4).
4
      Documents produced in discovery, based on data from 39 states, show more than 9,000
      reports by Cardinal Health in the first quarter of 2013 and more than 15,000 reports in the
      second quarter of 2013. CAH_MDL_PRIORPROD_AG_0009297 -
      CAH_MDL_PRIORPROD_AG_ 0009335.
5
      Excerpt of Report of James Rafalski at 67 (attached as Ex. 5).


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    Case: 1:17-md-02804-DAP Doc #: 2653-1 Filed: 09/25/19 5 of 9. PageID #: 416336




Cardinal for the years 1996 through 2005—the period for which only Cardinal Health, and not

any other distributors, retained and produced shipment data. See Fed. R. Evid. 401, 402. In the

alternative, the Court should bar Plaintiffs from arguing or offering testimony that Cardinal

Health shipped more suspicious orders than other distributors during that time without a limiting

instruction that informs the jury that Cardinal preserved and produced a decade’s worth of

transactional data more than other distributors. Absent the instruction, such testimony and

argument would mislead the jury.

         As defendants have explained in prior submissions, McCann identifies “suspicious

orders” purportedly shipped by distributors by applying their shipment data against five

algorithms. See ECF # 1783 (Mot. to Exclude McCann) at 3-4. Critically, his method only

searches for a first order that would be “flagged” by such an algorithm, after which he treats all

subsequent orders by that customer for the same drug category as “suspicious orders” based on

an assumption directed by Plaintiffs’ counsel. Id. Simple math makes it clear that the more

years of data produced by a distributor, the earlier McCann would be capable of finding a first

flagged order under his method, and the longer period of time thereafter in which he will be

counting orders as suspicious. Indeed, McCann agreed at his deposition that all else being equal,

“you’re flagging more orders for the distributors that you go back further in time with.” Excerpt

of McCann Dep. at 354:22 – 355:14 (attached as Ex. 6); id. at 356:3-11.6


6
      McCann explained further why that would be the case:
                … [T]he amount of prescription opioids increases significantly
                from 1997 to 2010 or '11… . And if Cardinal Health … and some
                other distributor, Distributor B, both were shipping from 1997, but
                for some reason Distributor B only produced data from 2002 in
                discovery, we would start observing Distributor B’s data at a
                higher level than the levels we first were observing Cardinal
                Health’s shipments. And … obviously before the Distributor B's
                data is produced, none of those get flagged, because there is no

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Case: 1:17-md-02804-DAP Doc #: 2653-1 Filed: 09/25/19 6 of 9. PageID #: 416337




       Cardinal preserved and produced shipment data from 1996, while other defendants

generally did so from 2004 forward, and complete data is not available until 2006. See Excerpt

of MacDonald Rpt. ¶ 84 (attached as Ex. 7). Similarly, the ARCOS database produced by the

government only has data beginning in 2006. As a result, Cardinal Health’s data are the primary

shipment records McCann analyzes from 1996 until 2006, after which he relies upon ARCOS

data. This disparity in record-keeping unfairly inflates the total orders from Cardinal labeled as

“suspicious” compared to other defendants. Id. at Table 6. Said differently, McCann’s total

numbers of “suspicious” orders for each distributor do not involve an apples-to-apples

comparison. Cardinal Health appears to have more “suspicious” orders under his analysis only

because he had a decades-worth more data from Cardinal. While the extent of the impact

depends upon the particular algorithm used, it increases by 5% on the method preferred by

Plaintiffs’ DEA witness, Rafalski, and as much as 12% on other methods, the “flagged” orders

within the years 2006 to present. Id. That is in addition to the thousands of shipments—nearly

20% of Cardinal’s total—“flagged” by McCann from 1996 to 2006, using primarily Cardinal

data. See Excerpt of McCann Rpt., Fig. 11 & 12, Tbl. 24-25, 28-29 (attached as Ex. 8). As a

consequence, when McCann compares distributors side-by-side, his totals for Cardinal Health

are anywhere from 25% to 32% higher than they would have been if Cardinal had retained

shipment records for only as long as the other defendants (and DEA, in the ARCOS database).

       Accordingly, the Court should preclude McCann from testifying to any opinions based

upon data produced by Cardinal before 2006. See Fed. R. Evid. 401, 402. Evidence is relevant



               data produced by Distributor B; whereas, given my stylized
               hypothetical, a bunch of the Cardinal Health shipments may be
               flagged.

   See Ex. 6 (excerpt of McCann Dep. at 356:16 – 357:13).


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Case: 1:17-md-02804-DAP Doc #: 2653-1 Filed: 09/25/19 7 of 9. PageID #: 416338




only if it has a tendency to make a fact of consequence more or less probable than it would be

without the evidence. Id. But there is simply no relevance to a comparison of one party’s

actions starting in 1996 with other parties’ actions starting in 2004-06. The relevant comparison

is with orders over the same time period. Even if minimally relevant, the court should preclude

such testimony because its probative value is outweighed by unfair prejudice to Cardinal. When

making decisions about comparative fault, the jury should not have to rely upon an apples-to-

oranges comparison of one defendant’s shipments over a 22 year period, against other

defendants’ shipments over a 10 or 12 year period. That creates a misleading impression and

prejudices Cardinal in at least two ways. First, the standard of care changed during the 1996 to

2006 time period. See Ex. 6 (excerpt of McCann Dep. at 356:16 – 357:13). Second, there

simply is a greater number of years for Cardinal orders to get flagged under one of the

algorithms, leading to higher totals of orders flagged by McCann either because they exceeded

one of his thresholds, or were given that label by mere assumption. The Court should therefore

limit McCann to opinions based upon equivalent years. See Fed. R. Evid. 403; see also State

Farm Fire & Cas. Co. v. Electrolux Home Prods., Inc., 980 F. Supp. 2d 1031, 1049 (N.D. Ind.

2013) (“When conducting a comparative analysis … care must be taken to be sure that the

comparison is one between ‘apples and apples’ rather than one between ‘apples and oranges.’”

(excluding comparison based on inconsistent data sources)); Padilla v. Hunter Douglas Window

Coverings, Inc., 14 F. Supp. 3d 1127, 1150 (N.D. Ill. 2014) (same).




                                                7
Case: 1:17-md-02804-DAP Doc #: 2653-1 Filed: 09/25/19 8 of 9. PageID #: 416339




Dated: September 25, 2019                 Respectfully submitted,

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                                      8
Case: 1:17-md-02804-DAP Doc #: 2653-1 Filed: 09/25/19 9 of 9. PageID #: 416340




                               CERTIFICATE OF SERVICE

       I, F. Lane Heard III, hereby certify that the foregoing document was served via the

Court’s ECF system to all counsel of record.



                                               /s/ F. Lane Heard III_________
                                               F. Lane Heard III




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